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AT ABINGDON, VA COURT
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UNITED STATES DISTRICT COURT -9 2077
WESTERN DISTRICT OF VIRGINIA

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UNITED STATES OF AMERICA ) No._]' Op
)
v. ) In violation of:
)
JAAP WILLEM LIJBERS ) 18U,8S.C. §§ 922(g)(5) and 924(a)(2)
INDICTMENT
COUNT ONE

Possession of Firearm by an Alien Unlawfully in United States

The Grand Jury charges that:

1. On or about March 2, 2021, in the Western District of Virginia, JAAP WILLEM
LIJBERS, knowing he was an alien unlawfully in the United States, knowingly possessed a
firearm, that is, a black Radical Firearms LLC rifle, Model RF-15, and the firearm was in or
affecting commerce.

2. All in violation of Title 18, United States Code, Sections 922(g)(5) and 924(a)(2).

A TRUE BILL, this 9" day of March 2021.

/s/ GRAND JURY FOREPERSON

DANIEL P. BUBAR
ACTING UNITED STATES ATTORNEY
